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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION
                              Case No. 1:22-cv-24023-SCOLA/GOODMAN

   KENNETH C. GRIFFIN,                                )
                                                      )
               Plaintiff,                             )
                                                      )
      v.                                              )
                                                      )
   INTERNAL REVENUE SERVICE, et al.,                  )
                                                      )
                Defendants.                           )
                                                      )

    REPLY IN SUPPORT OF THE UNITED STATES’ LIMITED OBJECTION TO THE
                 MAGISTRATE JUDGE’S OMNIBUS ORDER ON
                     PLAINTIFF’S MOTION TO COMPEL

           Through its limited objection, the United States seeks confirmation that it is not required

  to produce materials protected by the attorney-client privilege and attorney work product

  doctrine from the files of Department of Justice, Public Integrity Section related to the

  prosecution of Charles E. Littlejohn. The United States has consistently maintained that such

  privileged materials are not responsive to Plaintiff’s discovery requests. And Plaintiff has never

  challenged that position. But Magistrate Judge Goodman ordered the production of PIN’s

  “prosecutorial investigative file (but not those portions of the file which were obtained

  exclusively from TIGTA’s investigation or any grand jury materials).” ECF No. 141. This

  language potentially sweeps in PIN’s privileged materials. Because Plaintiff did not seek these

  materials in his motion to compel, ECF No. 111 at 12 (listing requested documents from PIN’s

  files), and does not seek them now, ECF No. 148 at 7 n.1, the United States asks the Court to

  limit Magistrate Judge Goodman’s order to non-privileged portions of PIN’s file and confirm

  that the United States has not waived any privileges over PIN’s file.
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                                            ARGUMENT

         PIN’s internal work product and attorney client communications (whether before or after

  this suit was filed) were not responsive to any of Plaintiff’s discovery requests, and thus, not

  properly subject to Plaintiff’s motion to compel. “Before a court will compel a party to produce

  discovery, the party requesting discovery must show that the producing party improperly

  declined to voluntary comply with a formal discovery request under Rule 34.” Walker v.

  Dorriety, No. 1:20-cv-1007, 2022 WL 20209780*1 (M.D. Ala. Apr. 4, 2022) (emphasis added).

  Here, Plaintiff issued discovery requests seeking certain information—and not specifically

  internal communications or attorney client communications—from PIN’s files. For seven of

  these discovery requests, Plaintiff sought certain communications and added the phrase “and all

  documents concerning communications.” On January 16, 2024, the Government objected to the

  language “and all documents concerning communications” as too overbroad, vague, unduly

  burdensome, and not proportional to the needs of the case. “It is unreasonable for PIN or any

  other Justice Department to search its files to determine whether there are any documents that

  ‘concern’ a particular communication.” (ECF No. 111-1 Ex. 11.) The Government also notified

  Plaintiff that it intended to withhold attorney-client communications and work product of both

  PIN and the Tax Division attorneys created after Plaintiff filed his complaint and that according

  to the local rules such items were not required to be included on a privilege log. Id.

         The Government limited Plaintiff’s request and responded consistent with its objections.

  As PIN’s internal communications and attorney client communications were not responsive, the

  Government was not required to provide a privilege log.

         Plaintiff never challenged the Government’s objection to the “concerning” language or

  the Government’s intention to withhold all post-suit attorney client and work product



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  communications, including in his motion to compel. Indeed, Plaintiff “neither desires nor expect

  the Government to produce truly privileged information and communications.” ECF No. 148 at 7

  n.1. Yet, Plaintiff wants a privilege log for non-responsive material to determine if non-

  responsive material is in fact privileged. Id. A responding party is not required to provide a

  privilege log for non-responsive materials. And the responding party makes the determination of

  what materials are responsive.

         In responding to Plaintiff’s discovery, the United States was upfront about what it

  considered responsive and about the materials it would include a privilege log. Plaintiff could

  have challenged the United States’ position then. But he chose not to because he admittedly does

  not want PIN’s privileged materials. Requiring the United States to provide a privilege log for

  thousands of internal communications serves no purpose and will not advance this suit.

         Finally, as Plaintiff acknowledges, Magistrate Judge Goodman did not address the United

  States’ privilege claims for PIN’s files. ECF No. 148 at 6. This, however, does not operate as a

  privilege waiver. Nor does the United States’ May 29th production waive privilege. The May

  29th production is consistent with the United States’ limited objection and position throughout

  this case. PIN’s protected work product and attorney-client communications are not responsive

  to Plaintiff’s discovery. A log for those materials is thus not required.

                                            CONCLUSION

         For the reasons above and its in limited objection, ECF No. 145, the United States

  requests that the Court limit Magistrate Judge Goodman’s order to non-privileged portions of

  PIN’s prosecutorial investigative file (but not those portions that were obtained exclusively from

  TIGTA’s investigation or any grant jury materials) and determine that the United States did not

  waive any privilege over PIN’s files.



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   Dated: June 7, 2024                      Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 7, 2024, I filed a copy of the foregoing document with the

  Clerk of Court using the CM/ECF system, which will send notification to counsel of record.


                                                      Beatriz T. Saiz
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